Case 2:05-cr-20282-BBD Document 13 Filed 08/03/05 Page 1 of 2 Page|D 19

IN THE UNITED STATES DISTRICT COURT Fi¢~l=-f??’ Mzi flc-
FoR THE wEsTERN DISTRICT oF TENNESSEE _ i,
wEsTERN DIVISIoN 05 AUG -3 AM l!~ h

 

 

UNITED STATES OF AMERICA

v.
No. 05-20282-04-D

TERESIA SIMPSON

 

ORDER SPECIFYING PERIOD OF EXCLUDABLE DELAY
UNDER THE SPEEDY TRIAL ACT

 

The defendant has this day notified the Court that he is unable to obtain private
counsel and requested appointment of counsel. The defendant qualified for appointed
counsel and the Court appointed counsel from the Federal Public Defender’s Office..

It is therefore ORDERED that the time period of 3 ' 3 'O 5 through
§ "3 '*0 5 be excluded from the time its imposed by the Speedy Trial Act for trial of this

case, in order to have counsel present.

 

ARRAIGNMENT ls RESET 'ro 9’10-0 5 AT 9=30 A.M. BEFORE
MAGISTRATE JUDGE Mrz, .
This 33 day of /§§,_wf .2004.

 

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UNITED STATES MAGISTRA'I`E JUDGE

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Notice of Distribution

This notice confirms a copy of` the document docketed as number l3 in
case 2:05-CR-20282 Was distributed by faX, mail, or direct printing on
August 5, 2005 to the parties listed.

 

 

FPD

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Honorable Bernice Donald
US DISTRICT COURT

